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                                    This request is GRANTED. Plaintiffs are also
                                    reminded that this Court requested an un-
                                    redacted copy of the third-party emails at issue
                                    in Dkt Nos. 168, 169. See Dkt. No. 188 at 102.


May 23, 2025                        ___________________________
                                    JENNIFER E. WILLIS
BY ECF FILING
                                    United States Magistrate Judge
Hon. Jennifer E. Willis             May 28, 2025
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 415
New York, NY 10007

                     Re: Safo et al. v. Singh et al (1:19-cv-03779-VSB-JW)

Dear Judge Willis:

In accordance with Rule I(C) of Your Honor’s Individual Rules & Practices in Civil Cases, the
parties jointly come to the Court to request an adjournment of expert discovery as set out in the
current Case Management Plan and Scheduling Order (ECF No. 154), which was ordered by the
Court on December 23, 2024. Expert discovery is scheduled to close on May 23, 2025. However,
there are six discovery-related motions currently pending before the Court concerning fact
discovery. Plaintiffs prefer to complete all fact discovery before engaging in expert discovery.
Defendants do not object and believe the most efficient and opportune time for expert discovery
is after summary judgment. At this time, Plaintiffs are not prepared to agree to defer expert
discovery until after summary judgment. Accordingly, the parties seek an adjournment of the
current expert discovery deadline and propose to submit to the Court a revised schedule for expert
discovery within seven days of the Court’s order on the pending motions.

The parties have previously made numerous requests for extension of fact discovery, which in turn
resulted in extension of expert discovery, but this is the parties’ first request concerning
specifically the schedule for expert discovery.

The parties thank the Court for its attention to this matter.
Respectfully submitted,

 /s/ Jan Cervenka                                   /s/ Edna D. Guerrasio
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Misiti and Dr. Emilie Bruzelius




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